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    JeffHorwitz(Prose)                                                                  FILED by            D.C.
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     In re:                                 C A SE N O .1:09-M D-02036-JL K

     CHECEJNG ACCO UNT                      N O T IC E O F M O TIO N A ND M O TIO N TO IN TER V ENE
     O V E RD R AFT                         A N D M O TIO N TO U N SEA L R EC O R D S BY JEFF
     LITIGATION                             HORW ITZ;M EM O RANDUM O F POINTS AND
                                            AUTHO RITIES IN SUPPORT OF M OTION TO
                                            IN TER VEN E BY JEFF H O R W IT Z U N D ER F.R .C .P.24
                                            A N D T O UN SEA L R ECO R D S
     M D L N o.2036



                                              IN TRO D UC TIO N

              l seek by thispresentM otion to intervene in thiscase pttrsuantto FederalRule ofCivil

    Procedure24(b)toseekpublicaccesstoamendedcomplaints,exhibits,and discoverydocuments
    produced by thelengthy listofdefendantbanks.

              The matters atissue in this litigation are ofinterestto the tinancialindustry,to tensof

    thousandsofclass mem berscurrently prevented from following the litigation closely,and to the

    publicatlarge.

              I am a reporter for a trade publication following the banking industry, and nm

     representing nAyself in this case both to avoid the cost of retaining legal representation and

     because Ibelieve thataccessto such docum ents is a fundam entalrightofthe public.W hile there

     isan understandable expediency to blanketconfidentiality agreementsofthe sortentered into by
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     the partiesin thislitigation,such restrictionsareno longerappropriate in thiscase and cannotbe
     '
    Justified.

            Iapologize forany proceduralerrorscontained herein,and ask thatthey be viewed with

     the charitable eye thatIbelieve pro se filingsare rightfully accorded.Ihave leaned significantly

     on the form and language ofintervention filingssuch asPLOS M edicine'sintervention in In re:

     Prempro Products Liability Litigation and Reilly v.M ediaNews Group Inc to craftthis M otion,

     as wellas on the plaintiffs'own m otion to unsealdocuments in the Union Bank case. Should

     thisM otion resultin significantopposition orbe deem ed to fallshortofthisCourt'sstandards,l

     willdo my bestto rectify any errorsorto obtain legalrepresentation capable ofdoing so on my

     behalf.

            My M otion to intervene should be granted because:(1)the M otion hasbeen filed in a
     timelymanner;(2)TheM otionsharesaquestion oflaw orfactincommonwith themain action;
     and(3)theM otionwillnotundulydelayoraffecttheparties'rightsinthetmderlyinglitigation.


                                       INTEREST OF M OVANT

            Ihavea specisc and compelling interestin obtaining accessrelated to bank overdraftfees

     and practices.

            1am a reporter forAmerican Banker,a leading publication thathascovered the banking

     industry forwellovera century.American Banker'strack record and seriousnessasapublication

     iswellestablished,and wehavecovered overdraftfeesforyears.

            Thedollarvalueoftheallegeddamagesalonewouldjustifyinterestinthislitigation,butI
     believe thatthiscase offers an unprecedented opportunity to explore numerousimportantissues

     forthe banking industry.Overdraftfeesand debitsequencing havebeen key pointsofcontention
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     in public policy and bankingregulatory refonn,aswellasakey sourceofrevenue forbanks.The

     industry's pricing ofconsumerchecking accounts overthe lastdecade hasbeen based in parton

     the calculation thatfees from overdraftand debittransàctions would supplem entincome from

     deposit gathering, and how banks handled overdraft m ay provide insight into their futtlre

     activities.

            W hile 1anticipate thatthere are many newsworthy docllmentsundersealin the case,lnm

     particularly interested in inform ation aboutthe involvementofconsultantsand third partiesin the

     evolution ofindustry standard practices.This is infonnation thatwould be a naturalpartofthe

     courtrecord,butisunlikely to play aprom inentrole in briefsthem selves.Likewise,Ianticipate

     thatdocum entscurrently under sealwould illum inate how the managem entofprom inentbanks

     approached overdraftand basic consumer financialproducts.There is no reason,for example,

     thatdepositionsofexecutivesoremailsproduced in discovery should beautomatically shielded.

            M em bers ofthe public who are potentialparticipants in the variouspotentialclasses in

     this litigation should be able to access information on this case as well.W hether they do it

     through reviewing unsealed courtfiles or reading a publication such as American Banker is

     imm aterial.



                                            A R G U M ENT

     INTERVENTION IS W ARRANTED BECAUSE THIS REQUEST M EETS ALL THREE
     REQUIREM ENTS FOR PERM ISSION INTERVENTION UNDER FRCP 24(B)
            Virtually every circuitin the country hasbacked the ability ofa non-party to challenge a

     protective order underFRCP 24(b).In reGuidantCorp Implantable Desbrillators Products
     Liabiity Litig.,245F.R.D.632,635(D.M inn.2007).
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             FederalRule ofCivilProcedure 24(b)states,in relevantpart,ûion timely motion,the
     courtm ay permitanyone to intervene who ...hasa claim ordefense thatshareswith the main

    action acommon question oflaw orfact....gT)hecourtmustconsiderwhethertheintervention
     willunduly delay orprejudice the adjudication ofthe originalparties'rights.''Fed.R.Civ.P.
     24(b)
             Pursuant to this rule,courts consider three factors in deciding whether to perm it an

     intervention;(l)whetherthemotion istimely;(2)whetherthemotionraisesaquestionof1aw or
     factincommon withthemainaction;and(3)whetherinterventionwillundulydelayorprejudice
     theadjudicationoftheparties'rights.


             TH E M O TIO N TO IN TERV EN E IS TIM ELY .

             This M otion satisfiesthe firstcriterion because the proceedingsin this case are ongoing.

     This alone should render the M otion timely,especially since courts have routinely perm itted

     intervention forthe limited purpose ofseekingpublicaccessto discoverym aterialseven afterthe

     underlying case isresolved.

             W erethatinsufficient,itisfairto notethatthisM otion comesshortlyafterthedecision to

     unsealrecords in the Union Bank litigation,which served as an alertto the public about the

     wealth ofinfonnation potentially availablein case files.



     II.     THE M OTION TO INTERVENE SHARES A QUESTION OF LAW OR FACT
     W ITH TH E M A IN A C TIO N .

             ThisM otion m eets the second criterion in thatitççshareswith the main action a comm on

     question of1aw orfact.''Thiscriterion hasgenerally been construed liberally in caseswherenon-
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     partiesseek intervention forthe lim ited purposeofobtaining public accessto discovery materials

     and othercourtrecords.The reason forthis,asthe D.C.Circuithasexplained,isçtbecause ofthe

     need for Ean effective mechanism for third-party claims of access to information generated

     throughjudicialproceedings.''Nat1Children'
                                              s Center,146 F.3dat1045-46.Thusçûdespitethe
     lack ofaclearfitwiththeliteraltermsofRule24(b),every circuitcourtthathasconsidered the
     question hascome to the conclusion thatnon-partiesmay perm issively intervene forthe purpose

     ofchallenging confidentiality orders.''f#.at1045.

            M y requestfor permissive intervention is akin to the requestfor intervention filed by

     newspapers in Pansy v.Borough of Stroudsburg,23 F.3d,where the Third Circuitpermitted
     intervention solely forthe pum oseofchallenging aprotectiveorder,even though the newspapers

     had not technically raised any ûûquestion of law or fact''in com mon with the originalparties'

     claims ordefenses.Id at778.In so ruling,the courtûtagreeldqwith othercourts....Thatthe
     proceduraldevice ofpennissive intervention is appropriately used to enable a litigantwho was

     notan originalparty to an action to challenge protective orconfdentiality ordersentered in that

     action.''161 The courtfound thatttlbly virtue ofthe factthatthe Newspapers challenge the
     validity ofthe OrderofConfidentiality entered in the main action,they m eetthe requirem entof

     Fed.R.Civ.P.24(b)(2)thattheirclaim musthaveiaquestion oflaw orfactincommon'with the
     m ain action.''Id.,.see also San Jose M ercury News Inc v. ULS.D istrict Court, l87 F.3d 1096,

     1103,(9thCir.1999)(reversingdistrictcourtorderdenyingnewspaper'smotion to interveneso
     that new spaper could ttpress the public's right of access to discovery m aterials pursuant to

     FederalRuleofCivilProcedure 26(c)'');In reBeeflndustry AntitrustLitig.,589 F.2d 786,789
     (5thcir 1979)(notingthattûltlhereisnoquestion''thatRule24 interventionistheldprocedurally
            .



     correctcourse''forthirdpartychallengestoprotectiveorders.)
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     Ill  M Y IN TER N VE NTIO N IN TH IS CA SE W ILL N O T UN D U LY D ELA Y O R
     PREJUDUCE TH E ADJUDICATION OF THE PARTIES'RIGHTS.

            ThisMotion satistiesthethird Rule24(b)consideration because itwillnotcauseundue
     delayorprejudicetherightsoftheexistingparties.
            A s the First Circuit has explained, the ççdelay or prejudice'' factor of Rule 24(b)

     lçencom passes the basic fairness notion that intervention should not work ta last m inute

     disruption ofpainstaking work by the parties and the court.'''Public Citizen,858 F.2d at786.

     Thissortofdisruption,the courtobserved,isnotan issuewhere - asin thiscase- theintervener

     seeks to lçlitigate only the issue ofthe protective order,''which is a ttparticularly discrete and

     ancillary issue-''Id.

            The sam e reasoning appliesto thisM otion,which isnotbroughtwith any intentto delay

     or inconvenience the parties or litigation. W hat m inim al effortis required of the parties to

     address it should be viewed in the context of the m assive scope of the litigation and the

     significantpresumption in favorofopen courtrecordswhen possible.



                                M O TIO N TO U N SEA L D O C UM EN TS

            A ccessto courtrecordsand proceedings isabasic rightofthe public,and one thatcannot

     be waived by an agreementbetween litigating parties. Nordoesthe parties'mere assertions of

     confidentiality suffice to overcom e the public'srightofaccess.Rather,to overcome thepublic's

     strong presum ptiverightofaccessto docum entsfiled in anycourt,aparty seeking secrecy canies

     a heavy burden.They mustestablish a compelling interestthatcan only be protected by sealing

     particularmaterial.Theparty mustprovide specificevidence,and aspecisclegalbasis(such as
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     tradesecretorarecognizedprivilege)thattogetherjustify secrecy.W ithoutthis,thecourtcarmot
     m ake am eaningfulevaluation ofwhetherthepublic'srighthasbeen overcom e.Last,thesealing,

     ifany,m ustbenarrow and includeaslittlem aterialasneeded to protecttheparty'sinterestwhile

     also protecting the public'sright.

            According to the localrulesofFlorida's Southern District,litigants seeking to m aintain

     the confidentiality of records submitted to the court must put forth ç1a reasonable basis for

     departing from the generalpolicy ofa public filing.''Thishasnothappened,and the preference

     ofoneorbothpartiesforsecrecyisinsuftkienttojustifythisfailure.
            There isa clearpublic interestin thiscase.Articleson the M DL in American Banker -

     and in particularthe unsealed Union Bank documents- have drawn above average interestfrom

     m embers of the general public and industry participants,interestthat has been borne out by

     above-average readership for stories written aboutthe case.And as the unsealing ofthe Union

     Bank recordsshows,the recordsare ofsignificantinterestbutcontain littleornothing in the way

     of sensitive business inform ation.



     1.TH E PUBLIC 'S FIRST AM ENDM ENT RIGH T OFACCESS TO COURT FILES HAS
     N O T BEEN O V ER C O M E BY A NY IN TERE ST A SSE RTED BY T H E PA R TIES

                    A.TH E PUBLIC HA S A FIRST AM ENDM ENT RIGH T OF ACCESS TO
                    TH E C O U R T FILES O F CIV IL PR O C EED IN G S

            Thatthe public has a FirstAmendmentrightto attend crim inalproceedings is beyond

     dispute.Richmond Newspapersv.Virginia,448 U.S.555,577-578(1980)(trial).The Supreme
     Courthas suggested thatthis constitutionalrightthatextendsto al1judicialproceedings,both
     criminaland civil.16(Ijn somecivilcasesthepublicinterestin access,and thesalutary effectof
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     publicity, m ay be as strong as, or stronger than, in m ost criminal cases.'' Gannett Co.

     Depasquale,443U.S.368,386-87n.15(1979).
            Thatthiscase raisesthe issue ofaccess to civilcourtfiles ratherthan attendance atcivil

     courtproceedingsdoesnotrequire adifferentanalysisoryield adifferentresult.



                   B. COURTS APPLY AN EXPERIENCE AND LOGIC TEST TO
                   D ETER M IN E W H ETH ER O R N O T TH E PUBL IC H A S A FIR ST
                   A M EN D M EN T R IG H T TO C O U RT PR O CEED ING S A N D FIL ES

     Courtsin mostjtzrisdictionsapplyatwo-partûlexperienceand logic''testtodeterminewhetheror
     notaFirstAmendmentrightofaccessappliestoaparticularjudicialproceeding.First,thecourt
     looksto whethertheprocesshashistorically been opento thepublic.

            Second,the courtasks ûtwhether public access plays a significant positive role in the

     functioning ofthe particularprocessin question.''

            The Sçexperience and logic'' test is easily met here. First, civil proceedings have

     historically been open to the public.tûll-llistorically both civiland criminaltrials have been
     presum ptively open.''Richmond Newspapers,448 U.S.at 580 n.17.Sim ilarly,the public has

     historically had access to all docum ents filed with a courtin civilm atters,absenta specific

     statute.

            Second, it is undeniable that the public plays an important role in m onitoring and

     assessingtheperformanceofitsjudicialsystem.
            M oreover,the subjectofthisproceeding isno simpleprivatedispute,itisa case with
     potentialramitk ations forhundreds ofthousandsofconsumers,large financialinstitutions,and

     banking policy and practices. The need for strict adherence to proceedings to protect the
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     presumption ofopenness in thisinstance iseven strongerthan itmightbe in typicalcivilaction

     between two privateparties.



                   C . TH E PA R TIES M UST A SSER T A TH REA T TO A N IM PO R TA N T
                   RIGHT THAT REQUIRES RESTRICTION ON THE PUBLIC'S FIRST
                   AM ENDM ENT RIGHT OF ACCESS TO THE COURT FILES

            ltism y beliefthatthe centralpartiesto thislitigation m ustovercom e an extremely high

     bartojustify secrecy ofthecourtdocumentsunderlying the overdraftcases.To quote from the
     Plaintiffs'briefto unsealrecordsin the Union Bank case:

             tût-f'
                  he banking businessisaffected with the public interest.Traditionally banksand their

            officers have been held to a high degree ofintegrity and responsiveness to their public

            calling.'Jacquesv.FirstNat1BankofMd.,515 A.2d 756,763 (M d.1986).Brmksçare
            invested with enorm ouspublic trust'and mustbe çheld to a high degree ofintegrity and

            responsivenessto theirpublic calling.'Djowharzadeh v.City Nat1Bank zf TrustCo.,

            646P.2d616,619(Ok1a.Ct.App.1982).
            The agreem ententered into by the partiesin the multidistrictoverdraftlitigation doesnot

    justifytheblanketsealing ofrecords.To thecontrary,theprotectiveorderstatesthatthereisno
     presumption of confidentiality in the eventthatthe orderis challenged and thatattom eysm ust

     makea good-faith designation thatsealed information containstradesecretsorotherjustifiably
     contidentialinfonnation.

            To date,there has been no concrete reasons offered for why any - much less most --

     details of this litigation should be off-lim its to the public,including mem bers ofthe proposed

     classeswhoseinterestsare supposedto berepresented.
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            To quote again from the Plaintiffs' filing requesting the unsealing of Union Bank

     docum ents,ûtthe presumption ofopen access isparticularly strong in thisclass action,as banks

     have a well-recognized responsibility to the public at large and are alleged to owe substantial

     dam agesto tensofthousandsofclassm embers.''



                                         CO NC LU SIO N

            Because this M otion to lntervene satisfies a1l three factors for lim ited perm issive

     interventionunderRule24(b),itshouldbegranted.
            TheM otion to unsealcourtrecordsshould also be granted,barring theability ofpartiesto

     this litigation to demonstrate that they can meetthe exceedingly high standards required for

     confidentiality.Andthoroughjustitication forthefilingofsealed documentsinthefutureshould
     berequired in thiscase.



                                                       Respectfully subm itted,


                                                         l


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